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4                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
5                                     AT SEATTLE
6
7      DAN ZHAI,
                                                    CASE NO.
8                                                   2:23−cv−01892−TL
                                   Petitioner(s),
9                          v.                       STANDING ORDER REGARDING
                                                    28 U.S.C. § 455 AND CANON 3 OF
10                                                  THE CODE OF CONDUCT FOR
       UR JADDOU et al.,                            UNITED STATES JUDGES
11
12                               Respondent(s).

13         The Court issues this Standing Order for purposes of compliance with 28 U.S.C. §

14   455 and Canon 3 of the Code of Conduct for United States Judges. 28 U.S.C. § 455(b)

15   and Canon 3 both require disqualification of a judge where "...a lawyer with whom the

16   judge previously practiced law served during such association as a lawyer concerning the

17   matter or ... has been a material witness."

18         Out of an abundance of caution, the Court directs the parties to notify it if any

19   laywer at Keller Rohrback L.L.P. (including lawyers who subsequently departed the

20   firm) served as a lawyer concerning either the above−captioned matter or any materially

21   related matter at any time between August 2004 and November 2021. If no Keller

22   Rohrback lawyer has served as counsel in this case or any materially related matter

23   during the relevant time period, no response to this Standing Order is required.

24         If notice is required pursuant to this Standing Order, it shall be submitted to

25   Kadya Peter at kadya_peter@wawd.uscourts.gov within seven days of receipt of this

26   Order. However, any defendant in a qui tam case may submit its notification within

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     UNITED STATES JUDGES − 1
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1    fourteen days of the later of (1) its appearance in the case; (2) the date that the operative
2    complaint is unsealed; or (3) receipt of this Standing Order. Any required notifications
3    may also be filed with this Court under seal using the CM/ECF system.
4          In newly filed or sealed cases, plaintiff's counsel (or plaintiff, if pro se) is directed
5    to serve copies of this Order on any parties who appear after this Order is filed. Such
6    service shall be accomplished within ten (10) days after each appearance.
7          If this case was assigned to this Court after being removed from state court, the
8    Defendant(s) who removed the case must serve this Order on all other parties.
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10         DATED: The 14th of December 2023
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13                                              Tana Lin
                                                United States District Judge
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     STANDING ORDER REGARDING 28 U.S.C. § 455 AND CANON 3 OF THE CODE OF CONDUCT FOR
     UNITED STATES JUDGES − 2
